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                                                                                                                                                             IN THE UNITED STATES DISTRICT COURT
                                                                                                                                                                NORTHERN DISTRICT OF ILLINOIS
                                                                                                                                                                      EASTERN DIVISION

MICHAEL O’CONNOR,                                                                                                                                                                                                                                      )
    Petitioner,                                                                                                                                                                                                                                        )
                                                                                                                                                                                                                                                       )      No. 15 CV 6494
                                                           v.                                                                                                                                                                                          )
                                                                                                                                                                                                                                                       )      Honorable
                                                                                                                                                                                                                                                       )      Sharon Johnson Coleman
THOMAS DART,                                                                                                                                                                                                                                           )
    Respondent.                                                                                                                                                                                                                                        )

                                                                  MOTION TO DISMISS PETITION WITHOUT PREJUDICE

                                                           The Petitioner Michael O’Connor, by his attorney Molly Armour,

respectfully requests the Court to dismiss the pending pro se request for relief

without prejudice.

                                                           1.                                                          Petitioner, currently detained at Cook County Jail, filed a pro se

petition for habeas corpus relief on July 24, 2015. Dkt. 1. Counsel was appointed

to represent Mr. O’Connor. Mr. O’Connor’s original petition asserted a numerous

claims of unconstitutional deprivation of his rights.

                                                           2.                                                          This petition arises from two cases in the Circuit Court of Cook

County which alleged cyberstalking in violation of ILCS 5/12-7.5(a)(1) and 720

ILCS 5/12-7.5(a)(2) of the Illinois Criminal Code.1 Mr. O’Connor pled guilty to

both cases on February 13, 2013.

                                                           3.                                                          On June 24, 2016, the Illinois Appellate Court struck down 720

ILCS 5/12-7.3(a)(1), (2) (Stalking) and 720 ILCS 5/12-7.5(a)(1), (2)

(Cyberstalking), pursuant to United States v. Elonis, 135 S.Ct. 2001 (2015).

People v. Relerford, 2016 IL App (1st Dist.) 132531. The statutes were found
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  

1         12CR-12678 and 12CR-22315.
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facially unconstitutional under the Due Process Clause of the

Fourteenth Amendment. Id. The State has appealed, and the statute’s

constitutionality is currently before the Illinois Supreme Court. These provisions

are the same provisions to which Mr. O’Connor pled guilty. Mr. O’Connor’s state

court attorneys filed a 735 ILCS 5/2-1401 motion seeking to vacate these

convictions as unconstitutional; it remains pending before the Circuit Court.

         4.     As to these 2012 cases, a violation of probation was lodged against

Mr. O’Connor following a new arrest in 2014. Recently, on May 12, 2017, the

Court terminated his probation.

         5.    While there may be a future need for a petition for habeas corpus,

at this time Petitioner will continue to pursue the vindication and exhaustion of

his rights in state court. Petitioner seeks the dismissal of his pro se filing without

prejudice to such time, if necessary, as his claims are ripe.

         6.    In bringing this motion, counsel has conferred with Valentina

O’Connor, guardian for the Petitioner.

         WHEREFORE, Petitioner seeks the dismissal of his pro se filing without

prejudice to any future presentment of potential claims.



Dated:         May 15, 2017                Respectfully submitted,



                                            s/ Molly Armour
                                           MOLLY ARMOUR
                                           Attorney for Michael O’Connor
                                           Law Office of Molly Armour
                                           4050 N. Lincoln Avenue
                                           Chicago, IL 60618
                                           (773) 746-4849
